Although I concur in the opinion and judgment, I do so with the understanding that we do not put a "stamp of approval" upon Ohio Adm. Code 3702-2-03(B)(2) but, instead, leave determination of its validity for a more appropriate time since it is not essential for our determination of the issues before us.
As a comment, however, it would appear that the requirement of former R.C. 3702.58 (presently R.C. 3702.60) that assignments of error be filed, combined with the filing being a request for an adjudication hearing (not a notice of appeal), with the requirement of a prehearing conference within thirty days, and with the requirement that the adjudication hearing be conducted in accordance with R.C. Chapter 119, tends to negate any need for either statements of the case or a statement of the facts.
Also, there can be no proper reference to the page of the "record" since that is what will be created at the adjudication hearing. The assignment-of-error provision could be intended to refer only to former R.C. 3702.58(C), which provides for a remand to the agency if the agency committed "procedural error." Resolution of these issues is not necessary for our determination herein.